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JOHN W. HUBER, United States Attorney (No. 7226)
ROBERT A. LUND, Assistant United States Attorney (No. 9579)
KARIN FOJTIK, Assistant United States Attorney (No. 7527)
ALICIA H. COOK, Trial Attorney, U.S . Department of Justice (No. 8851) · : J ...·~:: ·.: ." :---· ··; ·: J
MARK K. VINCENT, Assistant United States Attorney (No. 5357)               r.,.........   ~-.
PATRICK T. MURPHY, Trial Attorney, U.S. Department of Justice (MD Bar) ., •.;; · · "~ · ... · ..... · 1
ADAM L. SMALL, Trial Attorney, U.S. Department of Justice (NY Bar #2750602)
Attorneys for the United States of America                             . . ' : ~-. -u-1-l~-L-=-.-r\
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111
Telephone: (801) 524-5682


                       IN THE UNITED STATES DISTRICT COURT

                       DISTRICT OF UTAH, NORTHERN DIVISION


 UNITED STATES OF AMERICA,                        Case No.

                             Plaintiff,           INDICTMENT

                 vs.                              COUNT 1, 18 U.S.C. § 794(a)-
                                                  Attempt to Gather or Deliver Defense
 RON ROCKWELL HANSEN,                             Information;

                           Defendant.             COUNT 2, 18 U.S.C. § 951-
                                                  Agent of a Foreign Government;

                                                  COUNTS 3 - 5, 31 U.S.C. § 5332 -
                                                  Bulk Cash Smuggling;

                                                  COUNTS 6 - 13 , 31 U.S.C . § 5324-
                                                  Structuring Monetary Transactions;

                                                  COUNTS 14 & 15, 18 U.S.C. § 554 -
                                                  Smuggling Goods from the United States;


                                                           Case: 1:18- cr-00057
                                                           Assigned To : Benson , Dee
                                                           Ass ign. Date : 6/20/18
                                                           Description: USA v. Hansen
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THE GRAND JURY CHARGES:

                                         BACKGROUND

       At all times material to this Indictment:

                           The United States Intelligence Community

    1. The United States Intelligence C01m1mnity (USIC) consisted of U.S . executive branch

agencies and organizations that worked separately and together to conduct intelligence activities

related to foreign relations and the protection of the national security of the United States.

    2. The U.S. Department of Defense (DoD) was a U.S . executive branch agency tasked with

providing military forces needed to deter war and to protect the security of the United States.

    3. The Defense Intelligence Agency (DIA) was a component of DoD and the

USIC, which collected (including through classified means), analyzed, produced, and

disseminated foreign intelligence and counterintelligence to support national and DoD missions.

The DIA plaimed, managed, and executed intelligence operations during times of peace, crisis,

and war. The DIA provided defense-related intelligence for the Secretary of Defense, the

Chairman of the Joint Chiefs of Staff, combatant commanders, other DoD components, and non-

DoD agencies. Fmihem1ore, the DIA conducted administrative and technical support activities

within and outside the United States as necessary for cover arrangements. The USIC also

included U.S. Army Intelligence, another DoD component.

    4. The FBI was a U.S. government intelligence and law enforcement agency and was a

component of the USIC. The FBI was responsible for, among other things, conducting

counterintelligence investigations and activities.




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                                     Classified Information

   5. National security information constituted information owned by, produced by, produced

for, and under the control of the United States government that related to the conduct of foreign

relations or the national defense. Pursuant to Executive Order 13526 and its predecessors,

national security infonnation corresponded to three possible classification levels:

        a. Information was classified as TOP SECRET if the unauthorized disclosure of that

        information reasonably could be expected to cause exceptionally grave damage to the

        national security that the original classification authority was able to identify and

        describe.

        b. Information was classified as SECRET if the unauthorized disclosure of that

        infonnation reasonably could be expected to cause serious damage to the national

        security that the original classified authority was able to identify and describe.

        c. Infmmation was classified as CONFIDENTIAL if the unauthorized disclosure of that

         info1mation reasonably could be expected to cause damage to the national security that

        the original classified authority was able to identify and describe.

    6. Only individuals determined eligible by an appropriate U.S. government official could

lawfully access classified information. Additional requirements dictated that such an individual

sign an approved non-disclosure agreement, receive a secmity clearance, and possess a "need to

know" the classified infmmation. Those authorities fuither required the storage of classified

information in an approved facility and container commensurate with its classification level.

    7. Classification markings represented the usual means of communicating the need to protect

classified national security info1mation. Classified documents typically contained bam1ers on the

top and bottom stating the highest level of classification and any additional controls associated



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with the materials, as well as markings relating to the infonnation contained in each paragraph.

   8. In addition to classification markings, classified information at times contained

dissemination markings which restricted the distribution of the information. These markings

include "NF" or "NOFORN" dissemination control markings that stood for "No Foreign

Dissemination." The NOFORN marking denoted a limitation to disseminate the information

only to U.S . persons.

                     The People's Republic of China Intelligence Services

    9. The People 's Republic of China intelligence services (PRCIS) encompassed both the

civilian and military components of Chinese intelligence programs. Civilian intelligence

agencies included the Ministry of State Security (MSS) and the Ministry of Public Security

(MPS). The MSS consisted of a central ministry, provincial state security depaiiments, and

municipal state security bureaus, such as the Beijing State Security Bureau (BSSB) and the

Shanghai State Security Bureau (SSSB). The MPS was the principal domestic police and

security agency.

    10. The MSS maintained primary responsibility for domestic counterintelligence, foreign

intelligence, and aspects of political and military security. Among other things, the MSS and its

regional bureaus focused on identifying and influencing the foreign policy of other countries,

including the United States. The MSS and its bureaus sought to obtain infonnation on military,

political, economic, and security policies that might affect the People's Republic of China

(PRC), foreign intelligence operations directed at the PRC, and biographical profiles of foreign

politicians and intelligence officers. Much of the PRC's espionage efforts in industrialized

nations focused on acquiring teclmology that may or may not have been cleared for expmi. The

PRCIS cmmnonly used agents nnming front companies to purchase high-teclmology equipment.




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   11. PRCIS human source operations tended to originate inside the PRC, where

the PRCIS preferred to meet with its sources or assets. The PRCIS recruited individuals with

direct and second-hand access to information. The PRCIS recruited, among others, individuals

who traveled in and out of the PRC for business or study and who could return to their home

country to gain employment in the national security system or exploit existing connections. The

PRCIS commonly used money to recruit sources.

                                         The Defendant

    12. Ron Rockwell Hansen (HANSEN), a United States (U.S.) citizen, resided in Syracuse,

Utah. HANSEN retired from the U.S. Army (Almy) as a Warrant Officer with a background in

signals intelligence and human intelligence. HANSEN spoke Mandarin-Chinese and Russian.

From approximately 2000 to 2006, while serving on active duty in the Army, HANSEN worked

as an intelligence case officer for the DIA. He retired from the Army in early 2006 after more

than 20 years of service. Upon retirement, DIA hired HANSEN as a civilian intelligence case

officer. While on active duty with the Army and while employed as a DIA civilian, HANSEN

possessed a TOP SECRET security clearance.

    13. As part of the training to become a case officer, HANSEN received training in managing

assets, deterring surveillance, avoiding detection, and handling classified and sensitive

information.

    14. HANSEN eventually resigned from DIA in December 2006, after which he became a

member in two companies, H-11 Digital Forensics Company LLC and H-11 Digital Forensics

Services LLC (hereinafter referred to collectively as H-11). HANSEN's primary responsibilities

related to H-11 's business in Asia. From approximately 2007 until late 2011, HANSEN

maintained office space and an apartment in the PRC. He traveled frequently from Utah to the




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PRC.

   15 . According to HANSEN, he partnered with two PRC nationals, whom he identified by

anglicized names as "Amy" and "Robert," at his H-11 office in Beijing. According to HANSEN,

Robert maintained close connections to numerous contacts within PRCIS agencies.

   16. From approximately the end of 2000 until late 2011, HANSEN perfonned work for the

U.S. government that provided HANSEN with additional access to classified national defense

information. During his military service, the U.S. government entrusted HANSEN with access

to sensitive governn1ent materials, including closely held national defense infom1ation and

classified documents and materials.

   17. Between 2000 and 2011 , HANSEN signed multiple agreements that he would not

disclose his work with the U.S. government or the infonnation derived from that relationship .

Over his many years of holding security clearances, HANSEN received training regarding

classified information, including the definitions of classified information, the levels of

classification, as well as the proper handling, marking, transportation, and storage of classified

materials. HANSEN received training on his duty to protect classified materials from

unauthorized disclosure, which included complying with handling, transportation, and storage

requirements. HANSEN received instruction that the unauthorized transportation and storage of

classified materials risked disclosure and that transmission of the infom1ation could endanger the

national security of the United States and the safety of its citizens.

    18. As a prerequisite to accessing classified info1mation during his employment with the U.S.

government agencies, HANSEN signed nume1:ous contracts containing non-disclosure

agreements in which he acknowledged both the harm that could result from the unauthorized

disclosure of classified information and the applicability of criminal espionage laws should he




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make an unauthorized disclosure of such information or should he unlawfully retain such

information.

   19. Beginning in early 2012, HANSEN attempted to regain access to national defense

information by seeking positions of employment or confidence with USIC agencies, often

through fom1er DIA associates.

        a. In February of 2012, HANSEN approached U.S. Army Intelligence, through a former

        DIA associate, and offered to work as a double agent against the PRCIS.

        b. In May of 2012, HANSEN applied for a position with DIA.

        c. In mid-2013, in a meeting at DIA Headquarters facilitated by a high-ranking DIA

        officer, HANSEN suggested to a DIA analyst assigned to a classified program targetil).g

        the PRC that DIA operate HANSEN as a source.

        d. In November of 2013, when HANSEN's efforts to gain access through those

        intelligence agencies failed, HANSEN approached another component of the U.S. Army

        Intelligence through another fo1mer DIA associate.

        e. In February of 2015, HANSEN approached the FBI and offered to work as a double-

        agent against the PRCIS.

        f. In September of 2015, HANSEN contacted a United States House of Representatives

        member assigned to the House Permanent Select Committee on Intelligence, and

        HANSEN proposed that he work as a member of the Representative's staff on

        intelligence issues.

        g. In May of 2016, as set forth in more detail below, HANSEN reestablished contact

        with a current DIA case officer. In later meetings, HANSEN encouraged that DIA case

        officer to use HANSEN as a source against the PRCIS.



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   20. At no time did HANSEN notify the Attorney General of the United States that he was

acting as an agent for any foreign government, including the PRC.

   21. According to HANSEN's financial records and his admissions to the FBI, between 2011

and 2016, the following companies employed HANSEN after his work with the U.S. govenm1ent

ended:

                                                                           Employment Dates
  Company        Company Description              HANSEN' s Role       (based on Pavroll Checks)
                 Computer Forensics              Director of
  Logicube                                                            September 2011 - July 2012
                 Hardware Manufacturer           Worldwide Sales
  Smith
                 Electric Vehicle Design and
  Elect1ic                                       Contractor             July 2014 - March 2016
                 Production
  Vehicles

   22. According to HANSEN's financial records and business registration records, HANSEN

possessed an ownership interest in the following entities:

                                                   Initial
                                  Business       Registration    HANSEN's      Account     Main
     Entity      Description      Address           Date           Role       Signatory   Account
                 American
  AC-FPS         Chinese        57 w 200 s                                                  Wells
                                                   March 26,
  Business       Friendship     Suite 302 Salt                     Owner        Yes         Fargo
                                                     2013
  GroupLLC       Promotion      Lake City,UT                                                x6750
                 Society
  H-11 Digital                                                     Chief
                 Computer       57 w 200 s                                                  Wells
  Forensics                                                      Executive
                 Forensics      Suite 302 Salt    July 9, 2007                  Yes         Fargo
  Services                                                        Officer/
                 Company        Lake City,UT                                                x3972
  LLC                                                             Owner
  H-11 Digital                                                     Chief                    Wells
                 Computer       57 w 200 s
  Forensics                                      November 20,    Executive                  Fargo
                 Forensics      Suite 302 Salt                                  Yes
  Company                                           2006          Officer/                  x8498
                 Company        Lake City,UT
  LLC                                                             Owner                     xlOOO
                 Cloud                                                                      Wells
  Nuvestack                     600 17 111 St    November 19,
                 Computing                                         Owner        Yes         Fargo
  LLC                           Denver, CO          2013
                 Company                                                                    x0702
                 Cloud          57 w 200 s                                                  Wells
  Nuvestack                                      September 25,
                 Computing      Suite 302 Salt                     Owner         Yes        Fargo
  Inc.                                               2015
                 Company        Lake City,UT                                                x4721




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   23. Nuvestack provided cloud computing and information technology services. American

and Chinese Friendship Promotion Society Business Group (AC-FPS) sought to provide

professional and business services in the PRC.

   24. Between September of 2012 and June 2, 2018, HANSEN had only intermittent periods of

verifiable income. HANSEN' s military pension, which paid approximately $1 ,900 in net

monthly income, constituted his only consistent source of income.

   25. According to jointly-filed, personal tax returns for tax years 2013 through 2016,

HANSEN claimed large losses from his affiliated partnerships, including Nuvestack, AG:·FPS ,

and H-11, resulting in less than $40,000 in his gross adjusted income reported each year. For tax

years 2013-2016, AC-FPS recorded business losses each year. Nuvestack filed its initial U.S.

Return of Partnership Income for tax year 2013 and claimed $0.00 income and $64,002 in

expenses. According to Nuvestack's U.S . Return of Partnership Income for tax year 2014,

business losses claimed were -$1,114,889 with only $4,000 in gross receipts. Nuvestack failed

to file taxes in 2015 and 2016 and carried significant debt.

    26. In addition to the financial strain caused by his ownership interests, between 2012 and

June 2, 2018, HANSEN' s personal unsecured debt ranged from $150,000 to $200,000.

HANSEN exhausted his own credit limit and, as of late 2016, HANSEN began to b01Tow funds

against credit cards belonging to his family members.

                                       Meetings with the FBI

    27. In 2014, the FBI commenced an investigation into HANSEN's activities. Throughout

2015, while unaware of the pending investigation, HANSEN paiiicipated in nine voluntary

meetings with FBI agents in Salt Lake City, Utah. HANSEN claimed that he initiated the

meetings with the FBI to offer his cooperation as a source. During those meetings, HANSEN




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described numerous encounters with PRCIS officials, and HANSEN disclosed that agents of the

PRCIS targeted him for recruitment.

   28. HANSEN told the FBI that, by at least early 2014, he began meeting with two MSS

officers known to him as "David" and "Maiiin." HANSEN described meeting with David and

Martin in private rooms in tea houses and hotels in Beijing, and explained that Robert set up

those meetings. HANSEN related that during a business trip to the PRC in early 2015, David

and Martin offered him $300,000 per year in exchange for providing "consulting services."

HANSEN reported that David and Martin asked him to attend conferences or exhibitions on

forensics, infonnation security, and military communications and to conduct product research.

HANSEN stated that David and Martin gave him money by overpaying him for purchases of

computer forensic products.

   29. In March of 2015, when asked how he could obtain infonnation for the PRCIS,

HANSEN told the FBI that he "could start going to Washington, D.C. and meeting with friends

who are in the intelligence community and try and elicit classified info from them." However,

HANSEN acknowledged that doing so would constitute "alerting behavior." Physical

surveillance and court-authorized intercepted phone calls confinn that HANSEN began reaching

out to former DoD and DIA associates that same year and continuing into 2016. Several of those

associates had not had contact with HANSEN in many years.

    30. In June and July of 2015 , HANSEN gave the FBI two thumb drives containing several

reports that he wrote and other materials he obtained during his work with the U.S. government.

When asked by the agents how he safeguarded the material, HANSEN replied that he stored the

material on external drives and maintained these drives in a safe in his home. The two thumb

drives did in fact contain classified infonnation that HANSEN was not authorized to retain.




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    31. In December of 2015 , in the final meeting with FBI agents, HANSEN reiterated his

potential value to the PRCIS, suggesting the PRCIS could direct him to contact two specific DIA

. case officers in Texas and Georgia. At the conclusion of the meeting, FBI agents admonished

HANSEN that he must not accept the MSS's offer to work for them. The FBI agents further

instructed HANSEN that he must inform the FBI if the PRCIS continued to contact him. At no

point thereafter, despite his later admissions to others about his continual meetings with the

MSS , did HANSEN repmi any further interaction with PRCIS to the FBI. As described more

fully below, in May of 2016, HANSEN traveled to Texas and met with one of the DIA case

officers he mentioned to the FBI in December 2015.

                                      Attending Conferences

    32. During the course of the investigation, the FBI learned that HANSEN began attending

conferences on behalf of the PRC and its officials as early as 2013 and he continued doing so

through 2017. The FBI conducted surveillance of HANSEN at some of those conferences. FBI

 surveillance persom1el observed HANSEN typing notes on his laptop computer and taking

photographs of the presenters.

    33. From September 9-10, 2015, HANSEN attended the Intelligence & National Security

 Summit in Washington, D.C. sponsored by the Intelligence and National Security Alliance

 (INSA) and the Armed Forces Communications and Electronics Association (AFCEA). From

 April 20-22, 2016, HANSEN attended the AFCEA-sponsored Defense Cyber Operations

 Symposium in Washington, D.C. From September 7-8, 2016, HANSEN again attended the

 Intelligence & National Security Summit in Washington, D.C From November 15-17, 2016,

 HANSEN attended the AFCEA-sponsored TechNet Asia Pacific Conference in Honolulu,

 Hawaii. From September 6-7, 2017, HANSEN attended the Intelligence & National Security




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Summit in Washington, D.C.

   34. Although HANSEN registered for conferences under the name of Nuvestack Inc. , he

listed his home address rather than the Nuvestack address on registration documents. Recorded

phone calls reveal that HANSEN attempted to conceal his attendance at the TechNet conference

by asking a close Nuvestack associate not to disclose his location while at the conference. While

at the conferences, HANSEN also affirmatively misrepresented to the Nuvestack president and

other employees that he had been recalled to military duty.

                              Searches Related to HANSEN's Travel

   35. During the investigation, the FBI also monitored HANSEN's travel. On several

instances during the investigation, the FBI enlisted the assistance of officers from U.S. Customs

and Border Protection (CBP) to assist with searching and questioning HANSEN as he traveled

back to the U.S. from the PRC. Between 2014 and 2017, in each instance that officers from CBP

searched HANSEN'S luggage or carry-on baggage, while he cleared customs on his travel back

to Utah from the PRC, HANSEN carried U.S . cmTency and v.arious digital devices, including

cellular phones, smart phones, thumb drives, a laptop computer, and/or other digital storage

media.

    36. HANSEN traveled to the PRC on June 30, 2014 and returned to the U.S . through the

Detroit Metropolitan Airport on July 9, 2014. Upon his return, HANSEN knowingly failed to

report that he was carrying cmTency in excess of $10,000, and he failed to complete and submit a

Report of International Transpmiation of Currency or Monetary Instruments (FINCEN Form

105) as required. In Detroit, CBP conducted a secondary inspection ofHANSEN's carry-on

luggage. When HANSEN realized that CBP intended to search his possessions, HANSEN told

the CBP officer that he had failed to declare currency over $10,000. After the interaction with




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the CBP officer, HANSEN then disclosed that, in fact, he caITied $19,222. HANSEN

subsequently completed the required FINCEN Form 105.

   37. HANSEN traveled to the PRC on December 5, 2015, and he returned to the U.S. on

December 14, 2015. Upon his return, a court-authorized search of HANSEN's caITy-on luggage

revealed a passcode-protected thumb drive concealed behind a sock in the toe of a shoe. A

forensic examination of the thumb drive revealed the file names of photographs and notes related

to the September 2015 INSA Summit. The forensic examination also revealed that the thumb

drive had been accessed during HANSEN's stay in the PRC. HANSEN's suitcase contained

brochures and other materials related to the September 2015 INSA summit. The suitcase also

contained a print-out establishing HANSEN's membership in AFCEA starting in June of 2013.

HANSEN also caITied his MacBook Pro computer and $53,000 in cash. HANSEN told CBP

officers that the $53,000 represented proceeds from the sale of a Netwitness server; however,

HANSEN could not produce any documentation to verify the sale of the product.

   38. On April 18, 2016, during HANSEN's trip to Washington, D.C. to attend the AFCEA

conference, the FBI conducted a court-authorized search of HANSEN's hotel room and created a

forensic image ofHANSEN 's MacBook Pro computer. One document found on the computer,

saved under the file name "Business Development," contained expenses related to HANSEN's

attendance at conferences, his AFCEA membership renewal, and his INSA membership. The

Business Development document also contained a list of names and contact information of

former DoD/DIA associates of HANSEN. Several of the contacts continued to work for the

United States government, including an individual who later began operating as a Confidential

Htm1an Source ("CHS"). The Business Development document also included names of U.S.

politicians representing the State of Utah. HANSEN did not have any business dealings with the




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vast majority of the individuals listed in the document. Additionally, dUiing the forensic

examination, the FBI discovered printer file records indicating that, days before his trip to the

PRC in December of 2015 , HANSEN p1inted information from Linkedin related to several

former and current DIA case officers.

    39. Other documents stored on the computer contained information about conferences that

HANSEN previously attended and information about the U.S . military, including information

detailing U.S. Cyber Command locations, personnel, and organizational structure.

    40. HANSEN traveled to the PRC again on July 17, 2016, and he returned to the U.S. on July

23 , 2016. A court-authorized search of HANSEN's luggage when he returned revealed that he

carried the same password-protected thumb drive as he had on December 14, 2015 . A forensic

examination revealed two documents located in the unallocated space on the thumb drive,

evidencing an attempt to delete the documents . One document contained notes about the

Defense Inforn1ation Systems Agency, relating to the AFCEA conference HANSEN attended in

April of 2016. The examination further revealed that the thumb drive had last been accessed on

July 18, 2016, during HANSEN's trip to the PRC.

    41. The other document started with an itemized list of expenses related to his May 2016 trip

to Texas. The document also contained past and current locations of DIA facilities in San

Antonio, as well as cryptic notes related to a classified DIA program and DIA personnel, and

cryptic notes about a DIA case officer hiring initiative. The document also contained dates,

titles, and locations of upcoming military, intelligence, and technology conferences .

  . 42. HANSEN traveled to the PRC again on December 14, 2017, and he returned to the U.S.

on December 19, 2017. Upon his return, during customs processing, the FBI conducted a court-

authorized search ofHANSEN's luggage and possessions. HANSEN carried a MacBook Air




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computer. A forensic examination of the computer revealed a document saved to the computer

under the file name "Notes_INSA Sunmiit2016." The document contained several pages of

extensive notes about the INSA Stmm1it that HANSEN attended in Washington, D.C. in

September of 2016, as well as cryptic notes about his meetings with three former DIA associates

during that trip to Washington, D.C.

   43. The notes also included expenses related to HANSEN's travel and attendance at the

summit in Washington, D.C. The cryptic notes included the initials of the first and last names of

the former DIA associates, the dates he met them, and other information likely related to his

discussions with them, including cryptic notes related to their employment, such as work with

"special ops community'' and a specific U.S. government intelligence agency. The cryptic notes

also included the initials of the spouse of one of the former DIA associates and the date in July of

2016, when HANSEN had a chance meeting with her while traveling in Japan. At the time, the

spouse worked as a DIA employee. The cryptic notes also included the initials of the CHS with

an August date, followed by the note "med board," referring to discussions between HANSEN

and the CHS about the CHS' medical condition and the CHS' U.S. Anny medical board status.

The document also contained the date, title, and location of the November 2016 military,

intelligence, and teclmology conference, which HANSEN attended.

                             HANSEN's Communications with PRCIS

    44. HANSEN consistently touted his access to PRCIS intelligence officers throughout the

2015 voluntary meetings with the FBI. As noted above, in February 2015, HANSEN described

his ongoing meetings with MSS intelligence officers David and Mmiin, saying those meetings

began in 2014 and continued into 2015. He explained that he stopped traveling to the PRC after

December of 2011 while he was applying to return to work with DIA, but he resumed travel in




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April of 2013 upon learning he would not be hired. HANSEN described a succession of PRC IS

intelligence officers with whom he met during visits to the PRC. He identified one of the

officers as Max, who he said later introduced him to David and Maitin, with whom he then met

exclusively.

   45. In the next voluntary meeting with the FBI in March of 2015, HANSEN further described

the PRCIS intelligence officer as Max Tong, but said he was unsure if Tong was Max's real last

name. HANSEN said he met with Max and Martin in 2013. In the voluntary meeting with the

FBI in May of 2015, HANSEN again described vaiious PRCIS intelligence officers with whom

he met in the PRC over his years of travel. He admitted to using his personal email accounts,

including his @ac-fps.org account, to communicate with certain PRCIS intelligence officers. He

provided a sheet of paper with the names and contact information of some of the PRC IS

intelligence officers. HANSEN identified Max on the sheet of paper he provided, which listed

him as "Max Rain" with an email address @foxmail.com. He again identified Max as the

PRCIS intelligence officer who introduced him to MSS intelligence officers David and Martin.

In the voluntary meeting with the FBI in September of 2015, HANSEN provided another

document listing his PRC IS contacts, including the years of contact and the officers ' affiliation.

He identified Max Tong as an MSS intelligence officer assigned to "HUMINT," an acronym for

Human Intelligence, with a first meeting date of March 2011.

    46. A court-authorized search of HANSEN's email account associated with the @ac-fps.org

address revealed three email exchanges with Max, using his @foxmail.com email account,

during 2012-13 . One of HANSEN's email responses to Max included a contact title of"Rain"

for the @fox.mail.com email address, demonstrating that those email exchanges occuned

between Hansen and Max Tong.




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   47. The emails were sent in mid-2012 and early 2013, and they showed Max's eagerness for

HANSEN to resw11e travel to the PRC. In emails exchanged in July of 2012, HANSEN revealed

to Max that he decided to go back to his job at the Department of Defense and he would not be

able to travel to the PRC that month. At that time, HANSEN had applied for a position with

DIA, which required a security clearance and would have given him renewed access to

intelligence reporting. Max sent another email to HANSEN in January of 2013, noting he

looked forward to hearing from HANSEN. HANSEN replied in April of 2013 , about the time he

learned he would not be hired by DIA and right before his first trip back to the PRC since

December of 2011, noting he had good news. He wrote that he would be in the PRC the

following week, adding that his schedule was busy so they would need to meet early in the

morning. He added that he looked forward to seeing Max. HANSEN failed to disclose his

ongoing contacts with Max, someone he knew to be a PRCIS intelligence officer, to DIA during

his application and security clearance background check investigation.

   48. When HANSEN first approached the FBI in February of 2015 , he explained that Robert

set up his meetings with MSS intelligence officers David and Martin. At a subsequent voluntary

meeting with the FBI in March of 2015 , when HANSEN again stated that Robert brokered

HANSEN's meetings with David and Martin and other PRCIS intelligence officers, the FBI

asked HANSEN about Robert's background and why he had direct contact with PRCIS

intelligence officers. HANSEN described Robe1i's access to hundreds of PRCIS officers, adding

that Robert visited PRCIS offices, including the MSS office. At a subsequent voluntary meeting

with the FBI in September of 2015, HANSEN explained that David and Maiiin opted to no

longer utilize Robert to anange meetings with HANSEN. They instead gave HANSEN a

XINDA-model PRC cell phone with Martin's name and telephone number preprogrammed to




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allow HANSEN to communicate directly with Martin to set up in-person meetings after

HANSEN anived in the PRC.

   49. The investigation revealed that, as early as July of 2014, HANSEN used various cell

phones to communicate with Martin and others in the PRC. HANSEN's use of multiple cell

phones to communicate covertly with intelligence officers is consistent with case officer

tradecraft training HANSEN received from DIA to communicate securely with human sources.

   50. When HANSEN returned from the PRC on July 9, 2014, CBP officers conducted a

secondary inspection of HANSEN's luggage and possessions and found an inexpensive NOKIA-

brand, PRC cell phone. HANSEN also had a U.S. smartphone.

    51. When HANSEN returned from the PRC on December 14, 2015, the FBI conducted a

court-authorized search of his luggage and possessions and found an inexpensive XINDA-brand

PRC cell phone packed in his cany-on luggage, which he possessed in addition to the U.S. and

PRC smartphones he canied in his briefcase. The XINDA phone had call data showing

communications with "Martin."

    52. Upon HANSEN's return to the U.S. in July 23, 2016, following his travel to the PRC, the

FBI conducted another court-authorized search of his luggage and possessions and found an

inexpensive NOKIA-brand PRC cell phone packed in his cany-on luggage separate from his

U.S. and PRC smartphones located in his briefcase. This NOKIA phone call data showed

communications with "Martin." This was not the same NOKIA-brand cell phone found in

HANSEN's possession by CBP in July of 2014.

    53. On July 11, 2017, the FBI conducted a comi-authorized search of HANSEN's checked

luggage prior to his flight to the PRC and fow1d HANSEN's Huawei-brand PRC smartphone

packed in the luggage. The FBI obtained a forensic image of the phone and found several stored




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incoming and outgoing calls and text messages. The forensic image showed HANSEN began

using this smartphone during his travel to the PRC in February of 2015, shortly before he

contacted the FBI and reported the alleged recruitment pitch by the PRCIS. The forensic image

from July 11 , 2017 revealed consistent communication to and from a contact identified in the

smartphone as "Martin Chen," beginning with HANSEN's trip to the PRC in December of 2016

and including each subsequent trip to the PRC prior to this outbound travel. Those trips occurred

in February of 2017, April of2017, and May of2017 .

   54. When CBP questioned HANSEN about the $53,000 in U.S. currency that he declared

upon his return travel from the PRC on December 14, 2015, HANSEN explained that he sold a

piece of computer forensic equipment to Martin Chen of the MPS. On February 28, 2017, when

describing his meetings with the MSS in the PRC, HANSEN told the CHS that the MSS always

knows he is coming to the PRC, adding that they do not call themselves the MSS, they call

themselves the MPS.

    55. During his voluntary meetings with the FBI in 2015, HANSEN explained his extensive

interaction with the MPS. The court-authorized search ofHANSEN's MacBook Pro computer in

April of 2016 revealed photographs saved to the computer depicting HANSEN with uniformed

MPS officers, including some in a room with the MPS logo on the wall of the room, confirming

admissions he made to the CHS about having ties to the MPS.

    56. During a meeting with CHS in April of 2018, as they discussed how they could

communicate to avoid detection, HANSEN suggested to CHS they use a covert means of

communication using email.

                      Movement of Money from the PRC to the United States

    57. HANSEN did not travel to the PRC during 2012, but he resumed frequent travel to the




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PRC in April 2013. Between January of 2013 and June 2, 2018, HANSEN traveled to the PRC

40 times.

    58. Since at least April of 2013, HANSEN's return from travel to the PRC coincided with his

receipt of large amounts of money. HANSEN moved money from the PRC to the U.S. using

three methods: physically carrying cash across the border, Visa card transactions, and wire

transfers.

    59. Since 2008, Amy and Robert operated a PRC-based entity called Beijing Hua Heng

Infosec Company (Infosec) which pa1inered with H-11 to sell computer forensic products in the

PRC. During the paiinership, H-11 shipped computer forensic products to Infosec. For

example, email correspondence in August of 2013 between HANSEN's @ac-fps.com email

account and an email account @hl ldfs.com provide shipping details for a product shipped

internationally on or about August 8, 2013 from a domestic vendor to Infosec in Beijing. An

analysis of bank records revealed that Amy and Robert paid for these products via wire

transactions originating from the PRC to H-11 business accounts in the United States. In

contrast, beginning in May of 2013, Amy and Robert began wiring funds to an AC-FPS business

account controlled by HANSEN on dates that coincided with HANSEN ' s trips to the PRC.

    60. For example, HANSEN traveled to the PRC on August 5, 2013 , and he returned to the

U.S . on August 27, 2013. On or about August 19, 2013, HANSEN sent an email from his @ac-

fps.com email account to Amy and Robe1i at their @ac-fps.com email accounts asking Robe1i if

he received $15,000 U.S . dollars from HANSEN's driver in the PRC. HANSEN then instructed

Robert to send the money to his AC-FPS business account in Utah. On or about August 28,

2013 , HANSEN received a $14,985 wire originating from the PRC in his AC-FPS business

account.




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    61. Starting in May of 2013 through June of2014, HANSEN's travel to the PRC coincided

with large cash deposits to HANSEN's personal and business accounts without declarations of

currency at the border. In addition, between May of 2013 through September of 2014, Amy and

Robert wired funds directly into HANSEN's AC-FPS business account, as set fo1ih in Table 1

below:

         TABLE 1: April 2013-June 2014 Travel from the PRC I No Currency Declarations I Deposits
                        Customs
Travel Dates           Declaration     Deposit Date         Amount      Type   Bank Account
                                        May 3, 2013           $4,000
                                                                               x4798 Hansen personal
April 20 - May 3,         None                                $1,000    Cash
                                        May 7, 2013
2013                   Portland, OR                          $12,000
                                                                               x6750 AC-FPS
                                       May 13, 2013          $14,985    Wire
May 26 - June 6,             one        June 6, 2013          $5,000    Cash   x4798 Hansen personal
2013                   Portland, OR     June 7, 2013         $14,985    Wire   x6750 AC-FPS
August 5 - August         None                                $5,500    Cash   x4 798 Hansen personal
                                      August 28, 2013
27, 2013               Portland,OR                           $14,985    Wire   x6750 AC-FPS
November 18 -            None         ovember 26, 2013        $9,000           x4798 Hansen personal
                                                                        Cash
November 26, 2013      Seattle,WA     ovember 29, 2013       $10,000           x6750 AC-FPS
 January 4 - January      None        January 14, 2014        $9,985    Wire   x6750 AC-FPS
 18, 2014               Detroit,MI    January 21, 2014        $7,000    Cash   x4 798 Hansen personal
                                      February 26, 2014       $1,000
 February 17 -              one       February 28, 2014       $5,000
                                                                        Cash   x4798 Hansen personal
 February 26, 2014     Seattle,WA      March 11, 2014         $1,000
                                       March 17, 2014           $800
                                       March 26, 2014         $9,900
                                                                               x0702 Nuvestack
 March 19 - March         None                                $9,900
                                       March 27, 2014                   Cash
 26, 2014              Seattle,WA                             $1,000
                                                                               x4798 Hansen personal
                                       March 31, 2014         $6,400
                                       April 30, 2014         $4,000           x0702   uvestack
 April 20- April 26,     None
                                        May 5, 2014             $900    Cash
 2014                  Seattle.WA                                              x4798 Hansen personal
                                        May 21, 2014          $3,000
                                        June 11 , 2014        $7,985    Wire   x6750 AC-FPS
                                        June 13, 2014         $5,000
 June 4- June 13,        None
                                        June 17, 2014         $1,300
 2014                  Seattle,WA                                       Cash   x4798 Hansen personal
                                        June 20, 2014         $ 1,000
                                        June 30, 2014         $2,000
                                               TOTAL:       $168,625



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   62. After his interdiction by CBP on July 9, 2014, HANSEN began declaring U.S. cunency

on a regular basis upon his return from the PRC. HANSEN's travel to the PRC from June 2014

through December 2015 similarly coincided with large cash deposits to HANSEN's personal and

business accounts, as set forth in Table 2 below:

    TABLE 2: July 2014 - December 2015 Travel from the PRC I Some Large Currency Declarations I Deposits
 Travel Dates         Customs Declaration       Deposit Date     Amount Type Bank Account
                                                July 10, 20 14     $9,000         x4798 Hansen personal
 June 30 - July 9,      $19,222 in Detroit, MI     July 11 , 2014    $2,500           x4892 K.H. personal
                                                                               Cash
 2014                       (Form Filed)           July 17, 2014     $1,000           x4798 Hansen personal
                                                   July 18, 2014     $1 ,800          x4892 K.H. personal
 August 27-
                        $4,000 in Seattle, WA    September 5, 2014   $9,985    Wire   x6750 AC-FPS
 September 6, 2014
 September 17-                  None
                                                  October l , 2014   $7,500    Cash   x4798 Hansen personal
 October 1, 2014            Portland, OR
                                                                     $5,000           xl 730 Hansen personal
 October 15- October    $27,775 in Seattle, WA    October 30, 2014
                                                                     $8,000    Cash
 29,2014                     (Form Filed)                                             x4 798 Hansen personal
                                                   ovember 7, 2014   $1,500
 November 15-                   None                                 $5,000           x6750 AC-FPS
                                                 November 24, 2014             Cash
 November 22, 2014           Seattle, WA                             $2,000           x 1730 Hansen personal
                                                                     $1,000           x4892 K.H. personal
                                                 December 22, 2014
 December 15-           $30,000 in Seattle, WA                       $9,000
                                                                               Cash   x6750 AC-FPS
 December 20, 2014           (Form Filed)        December 23, 2014   $6,000
                                                  January 15, 2015   $1,500           xl 730 Hansen personal
 January 26 -           $19,650 in Detroit, MI    February 9, 2015   $1,000           x4 798 Hansen personal
                                                                               Cash
 February 5, 2015           (Form Filed)         February 26, 2015   $6,500           xl 730 Hansen personal
 February 27 - March            None
                                                  March 18, 2015     $5,000    Cash   xl 730 Hansen personal
 11, 2015                    Seattle, WA
                                                                     $5,000           x4798 Hansen personal
                                                   April 17, 2015
 April 6 - Apri l 16,   $30,040 in Seattle, WA                       $6,800
                                                                               Cash   x 1730 Hansen personal
 2015                        (Form Filed)          April 27, 2015    $4,500
                                                    May 4, 2015      $2,000           x4798 Hansen personal
                                                   June 10, 20 15    $5,000           xl 730 Hansen personal
 Jlllle 4 - Jlllle 9,           None                                 $1,700           x6750 AC-FPS
                                                                               Cash
 2015                        Seattle, WA           June 22, 2015                      x1963 Fahodie for
                                                                       1,592
                                                                                      Friends
 July 21 - July 26,                                 July 27, 2015    $5 ,000          xl 730 Hansen personal
                                                                               Cash
 2015                                               July 30, 2015    $5,000           x675 0 AC-FPS




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                       $20,700 in San Fran,     August 10, 2015       $3,000            xl 730 Hansen personal
                               CA               August 11 , 2015       $1 ,008
                           (Fom1 Filed)                                                 x4 798 Hansen personal
                                                August 24, 2015        $3 ,300
                                                August 28, 2015        $7,000
                                                                                        xl 730 Hansen personal
 August 16 - August   $20,267 in Seattle, WA   September 2, 2015        2,500
                                                                                 Cash
 27,2015                   (Form Filed)        September 3, 2015       $2,900           x4 798 Hansen personal
                                               September 14, 2015      $3,000           xl730 Hansen personal
                                                                       $8,000           xl 730 Hansen personal
                                               December 14, 20 15
                                                                       $8,000           x4 798 Hansen personal
 December 5 -         $53,000 in Seattle, WA
                                               December 15, 2015       $7,400    Cash   x6750 AC-FPS
 December 14, 2015         (Form Filed)
                                               December 16, 20 15      $ 1,000          x4892 K.H . personal
                                                January 6, 2016        $2,900           x4798 Hansen personal
                                                            Total:   $169,885


   63. In conversations with law enforcement officials and others, HANSEN offered varying

explanations regarding the source of his cash. For example, HANSEN claimed to CBP and FBI

on at least one occasion that the cash related to the sale of surplus inventory and equipment

following the 2013 closing ofH-11 Beijing. However, in March of 2015 , HANSEN told the FBI

that he no longer had surplus inventory and equipment to sell in the PRC. When questioned by

CBP about cash carried into the U.S., HANSEN never provided any documentation to confirm

the sale of any surplus inventory or equipment from H-11 Beijing. As Tables 2 and 3 illustrate,

HANSEN continued to bring significant sums of cash into the U.S. even after he advised CBP

officers and FBI agents that little or no H-11 inventory or equipment remained to sell.

    64. After receiving scrutiny by CBP regarding his pattern of carrying cash into the U.S.

following trips to the PRC, HANSEN developed another method to transfer U.S. currency to his

U.S. bank accounts using credit cards. During a phone call with a business associate on or about

June 10, 2016, HANSEN stated that he found "another way" to move money out of the PRC.

HANSEN explained that the PRC government places an ammal limit of $50,000 per individual

to transfer funds out of the PRC. To avoid the $50,000 limit, HANSEN further explained that an



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individual could transfer funds out of the PRC using credit cards.

   65. Emails confirm that, as early as March of 2016, HANSEN transferred money from the

PRC using Visa cards with the assistance of Amy and Robert. The emails containing Visa card

numbers included references such as "for Ron," "Ron's money," and "Money In from RH."

Amy provided the Visa card numbers to both HANSEN and an accountant. Thereafter, at

HANSEN's direction, the accountant processed the Visa card transactions through U.S.-based

merchant accounts and then transferred the funds to HANSEN's personal and business accounts,

as demonstrated in examples detailed below.

    66. HANSEN traveled to the PRC on July 17, 2016, and he returned to the U.S. on July 23,

2016. HANSEN did not declare any currency at the airport. When questioned by CBP,

HANSEN admitted carrying $9,970, an amount just under the reporting threshold. HANSEN

told CBP officers that he would no longer carry currency across the border and that he would

instead have money sent to him via Visa card transactions. HANSEN told CBP the Visa card

transactions would involve a 3% fee, but he would rather pay the fee than be interviewed by

CBP. On or about July 24, 2016, Amy sent an email to HANSEN and the accountant stating that

there was "USD 15 ,000 in this visa card for Ron." On July 27, 2016, the accountant processed

the $15,000 Visa card transaction through the Nuvestack merchant account.

    67. HANSEN traveled to the PRC on December 3, 2016, and he returned to the U.S. on

December 10, 2016. On or about December 12, 2016, in a telephone conversation with the

accountant, HANSEN described how he directed Amy and Robert to send $49,000 to the U.S. in

increments of $10,000, $10,000, $15,000; and $14,000. On or about December 9, 2016,

December 14, 2016, and December 22, 2016, Amy sent emails to HANSEN and the accountant

with subject lines "Ron's money" and "third part of Ron's money." At HANSEN 's direction,




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the accountant processed $49,000 total in Visa card transactions through the Nuvestack merchant

account.

   68. On Febrnary 28, 2017, HANSEN told the CHS that the MSS always pays him in cash

and he gives the cash to Amy and Robert to wire to him. HANSEN also told the CHS that he

sometimes carries cash but he has to declare it if it is over $10,000.

   69. HANSEN traveled to the PRC on May 11, 2017, and he returned to the U.S. on May 16,

2017. On or about May 17, 2017, HANSEN spoke with Robert by telephone. Robert stated that

HANSEN could access the money the following night. Robert said that he could only deposit

5,000 U.S . dollars each day in the PRC, and it takes three days to deposit 15,000 U.S. dollars.

On or about May 18, 2017, Amy sent an email to HANSEN and the accountant with subject line

"money for Ron," notifying them of the availability of $15,000 "for Ron" on a Visa card. On or

about May 19, 2017, the accountant processed the $15,000 Visa card transaction through the

Nuvestack merchant account.

    70. HANSEN traveled to the PRC on July 11, 2017 and he returned to the U.S. on July 18,

2017 . On or about July 19, 2017, Amy sent an email to HANSEN and the accountant stating that

"there is USD9000 for Ron on this Visa card." On or about July 20, 2017, the accountant

processed the $9,000 Visa card transaction through the Nuvestack merchant account.

    71. HANSEN traveled to the PRC on September 21 , 2017, and he returned to the U.S . on

September 28, 2017. On or about September 28, 2017, HANSEN wrote in an email to a friend in

the PRC, "I have attached the Bank Information for the AC-FPS Business Group. Thank you.

Hope to see you soon in Utah. Ron Hansen, CEO I AC-FPS Business Group." The friend

responded, "OK." On September 29, 2017, bank records show that a wire originating from the

PRC in the amount of $9,985 posted to the AC-FPS business account. On or about October 2,




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2017, HANSEN, on a telephone call with a Nuvestack employee, explained the delay in paying

the Nuvestack employee. HANSEN explained that the money was not "here" yet because

"they've gotta put some money in the bank ... then put some money on a credit card that I can

swipe here because the money's coming from Asia." On or about October 4, 2017, Amy sent an

email to the accountant and HANSEN stating there was "USD30000 in this visa card for Ron."

On or about October 6, 2017, the accountant processed the Visa card through the Nuvestack

merchant account.

   72. HANSEN traveled to the PRC on November 16, 2017, and he returned to the U.S . on

November 21 , 2017. On or about November 16, 2017, during a telephone call, a business

partner asked HANSEN to repay a $50,000 loan. During a later call, HANSEN stated that he

could not produce a $50,000 lump sum payment, but "there are some things aligning."

HANSEN stated he would probably get $10,000 to the business pa1iner the following week. On

or about November 22, 2017, HANSEN received a $27,985 wire originating from the PRC in his

AC-FPS business account from the same friend referenced above. On or about November 22,

2017, HANSEN transferred $10,000, through the Nuvestack business account, to this business

partner.

    73 . HANSEN traveled to the PRC on December 14, 2017, and he returned to the U.S. on

December 19, 2017. On or about December 22, 2017, Amy sent an email to HANSEN about

transferring money to HANSEN. Bank records show that on December 27, 2017, and January 3,

2018, two Visa card transactions were received in the Nuvestack business account in the

amounts of $10,000 and $13 ,000 respectively.

    74. Between July of 2016 and June 2, 2018, more than $200,000 was processed tlu·ough the

Nuvestack merchant account from PRC bank-issued Visa cards provided by Amy and Robe1i.




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For tax year 2016, despite receiving approximately $90,000 through the Nuvestack merchant

account using Amy and Robert's Visa cards, Nuvestack failed to file any corporate tax filings

with the Internal Revenue Service.

   75. For the merchant transactions, wires, and cash deposits described below in Table 3,

HANSEN used the majority of the funds to benefit himself, his family members, and other

entities, such as Nuvestack and AC-FPS , in which HANSEN held a vested financial interest.

Bank records confirm that HANSEN did not transfer those funds to H-11 or use the funds in a

way that benefitted H-11. Table 3 illustrates the methods HANSEN employed to transfer U.S .

cunency from the PRC to the U.S ., after scrutiny by CBP in December of 2015:

   TABLE 3: March 2016 -April 2018 No Large Currenc' Declarations I Cash, Card, and Wire Deposits
                   Customs
 Travel Dates
                  Declaration       Deposit Date      Amount Type Account
                                      March 2 1, 20 16      $5,500           x 1730 Hansen personal
                                                                      Cash
 March 9 -            None
 March 19, 2016     Seattle,WA        March 22, 2016        $9,500
                                                                             x8498 H-11 Digital Forensics
                                      March 28, 2016       $10,400    Card

                                                           $10,000           x8498 H-11 Digital Forensics
 May 7-May               one                                          Card
                                       May 19, 20 16
 14,2016            Seattle, WA
                                                            $5,000           x l 730 Hansen personal
                                                                      Cash
                                       July 25, 20 16       $8,500           x4798 Hansen personal
 July 12 - July       $9,970                                          Cash
 23 , 20 16         Seattle, WA
                                        July 27, 2016      $15,000           x472 1 Nuvestack
                                                                      Card
                                     September 23, 2016    $10,000           x4721   uvestack
                                                                      Card
 September 15 -
                      $2,000         September 26, 2016      2,000           x4798 Hansen personal
 September 24,                                                        Cash
                    Seattle,WA
 2016                                September 28, 2016    $10,000
                                                                             x4721   uvestack
                                     September 29, 20 16    $6,000    Card
                                     December 12, 20 16    $10,000
                                     December 13, 20 16    $10,000           x472 l Nuvestack
                                                                      Card
 December 3 -                        December 16, 2016     $15,000
                      None
 December 10,
                    Seattle,WA
 2016                                December 19, 2016      $1 ,000          x4798 Hansen personal
                                                                      Cash
                                     December 23, 2016     $14,000           x472 1 Nuvestack
                                                                      Card
                       None
                                     February 21, 201 7     $2,000           x4 798 Hansen personal
                    Seattle,WA                                        Cash


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February 9-
                  -                                            -      -
February 18,                        February 22, 2017     $19,000            x4721   uvestack
                                                                      Card
2017
                                                          $16;000            x472 1 Nuvestack
April 9 - Ap1il         $2,500                                        Card
                                      April 18, 20 17
17, 2017              Seattle,WA
                                                           $2,500            x4892 Kameron/Shelley
                                                                      Cash
                                      May 17, 2017         $2,500            xl551 Electrolytic Minerals
                                                                      Cash
May 11-May              $2,500
                                      May 19, 2017        $15,000            x4721   uvestack
16,2017               Seattle,WA                                      Card
                                      May 26, 2017         $1.250            x 1551 Electrolytic Minerals
                                                                      Cash
                                      Julyl9,2017          $1,500            x4892 Kameron/Shelley
July 11 - July          None                                          Cash
18,2017               Seattle, WA
                                      July 20, 20 17       $9,000            x472 1 Nuvestack
                                                                      Card
                                    September 28, 2017     $6,000            x4798 Hansen personal
                                                                      Cash
September 21 -
                        $6,000
September 28,                       September 29, 2017     $9,985            x6750 AC-FPS
                      Seattle, WA                                     Wire
2017
                                     October 6, 2017      $30,000            x4721    uvestack
                                                                      Card
November 16 -                       November 21, 20 17     $3,000            x4798 Hansen personal
                        None                                          Cash
November 21,
                      Seattle, WA
2017                                November 22, 20 17    $27,985            x6750 AC-FPS
                                                                      Wire
                                    December 20, 2017      $3,000            x6750 AC-FPS
                                                                      Cash
December 14 -
                        $4,600
December 19,                        December 27, 2017       10,000           x4721 Nuvestack
                      Seattle,WA                                      Card
2017
                                      January 3, 2018     $13,000            x4721    uvestack
                                                                      Card
                                                             $500            x6750 AC-FPS
January 19 -            $1,400                                        Cash
                                     January 25, 2018
January 24, 2018      Seattle,WA
                                                          $17,985            x6750 AC-FPS
                                                                      Wire
                                                            $1,200           x6750 AC-FPS
March 2 - March            one                                        Cash
                                      March 7, 2018
6,2018                Seattle,WA
                                                          $17,960            x6750 AC-FPS
                                                                      Wire
                                      April 10, 2018        $1,000            x4798 Hansen personal
                                                                      Cash
April 5 to April        None
                                      April 12, 2018       $17,990            x6750 AC-FPS
J0,2018               Seattle,WA                                      Wire
                                      April 23, 2018        $1,000            x4798 Hansen personal
                                                                      Cash
                                       May 2, 2018         $21,985           x6750 AC-FPS
April 23 to April          one                                        Wire
28, 2018              Seattle,WA
                                       May4, 2018           $5,000           x6750 AC-FPS
                                                                      Cash
                                          Total:          $398,24 0




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   76. Tables 1-3 summarize some, but not all, of the U.S. currency HANSEN declared to CBP

or funds deposited into U.S. bank accounts contemporaneous with his travel from the PRC.

From May of 2013 to the date of the Indictment, HANSEN received not less than $800,000 in

funds originating from the PRC.

                                          Export Control

   77. On August 17, 2001, pursuant to the International Emergency Economic Powers Act

(IEEPA), the President issued Executive Order 13,222, which declared a national emergency

with respect to the unusual and extraordinary threat to the national security, foreign policy and

economy of the United States in light of the expiration of the Export Administration Act, 50

App. U.S .C. §§ 2401-2420, which lapsed on August 17, 2001. 66 Fed. Reg. 44,025 (Aug. 22,

2001). While in effect, the EAA regulated the expo1i of goods, technology, and software from

the United States. Pursuant to the provisions of the EAA, the Department of Co1mnerce (DOC)

through the Bureau of Industry and Security (BIS) promulgated the Exp01i Administration

Regulations (EAR), 15 C.F.R. §§ 730-774, which contained restrictions on the export of goods,

such as software with cryptoanalytic capability, outside of the United States, consistent with the

policies and provisions of the EAA. See 15 C.F .R. § 730.2. Accordingly, the President ordered

that the EAR's provisions remain in full force and effect despite the expiration of the EAA.

Presidents have issued annual Executive Notices extending the national emergency declared in

Executive Order 13,222 from the time period covered by that Executive Order through the

present. See, e.g. , 82 Fed. Reg. 39,005 (Aug. 18, 2017).

    78. The C01mnerce Control List, published at 15 C.F.R. §774, listed the most sensitive items

subject to the EAR. Items on the Commerce Control List were categorized by an Export Control

Classification Number ("ECCN"), which contained information about the specific export




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controls applicable to that ECCN. Depending on the applicable export control, destination,

end use, and end user, DOC-BIS required an exporter to obtain a license in order to export

ce1iain items.

   79. Under IEEPA and the EAR, willfully expmiing, conspiring to export, attempting to

export, or aiding and abetting the export from the U.S. of any item subject to the EAR that

required a license without first obtaining the license from DOC constituted a crime.

Sumuri Recon Software
   80. Sumuri LLC (Sumuri), a U.S. company located in Delaware, provided digital forensic

training, software, hardware, and services. Sumuri manufqctured the Recon Mac OS X

Forensics with Paladin 6 software (Sumuri Recon software). That software contained

cryptographic capability. By at least June 1, 2016, the Sumuri Recon software received an

ECCN of 5D002.c. l. As a commodity controlled for anti-terrorism and national security

reasons, the EAR prohibited the export of that controlled commodity to the PRC without a valid

export license from the DOC-BIS.

    81. On or about November 29, 2016, Amy requested that HANSEN purchase the Sumuri

Recon software and bring it to her in the PRC. On or about December 12, 2016, HANSEN

purchased the Sumuri Recon software for $1,717.95 purportedly on behalf ofNuvestack Inc., a

U.S. company. On or about December 12, 2016, HANSEN directed an associate to ship the

Sumuri Recon software to Amy in the PRC. On or about December 23 , 2016, in an email

message to HANSEN, Amy confim1ed receipt of the Sumuri Recon software. HANSEN

previously dealt with DOC-BIS and knew of the licensure requirement for expo1i-controlled

products. HANSEN did not obtain the requisite license to expo1i the Sumuri Recon software to

the PRC.




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Vound Intella Software
   82. Vound LLC (Vound), a U.S. company located in Colorado, provided products related to

forensic search, e-discovery, and information governance. Vound manufactured the Intella 100

software.

   83. For the export of any conm1odity valued at or above $2,500, the EAR required the

exporter to complete an Electronic Export Infonnation form (EEI), previously known as

Shipper's Export Declaration (SED), in the Automated Export System (AES). Among other

things, that form required the exporter to list the accurate value of the commodity (15 C.F.R.

§ 30). Electronic filing through the AES strengthened the U.S. government's ability to prevent

export of certain items to unauthorized destinations and to unauthorized users.

    84. On or about December 23, 2016, Amy requested that HANSEN purchase the Intella 100

Software and bring it to her in the PRC. On or about January 8, 2017, HANSEN purchased the

Intella software from Vound for $3,030.00. After purchasing the software, HANSEN

represented to the Vound sales manager that Nuvestack Inc. would be the end user of the

product. Thereafter, HANSEN directed an associate to ship the Intella software to Amy in the

PRC, which the associate did on or about January 19, 2017. At the request of Amy and with

HANSEN's knowledge, HANSEN's associate listed the value of the product on the shipping

documentation at $50.00, which HANSEN well knew to be false. HANSEN previously exported

other products from the U.S. whose value exceeded $2,500. On those occasions, HANSEN

submitted the requisite fonn, confinning that he knew of the disclosure requirement. HANSEN

did not complete the EEI form regarding the export of the Intella software nor did he direct his

associate to do so.




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                 The Confidential Human Source and Attempted Espionage

   85. As a routine investigative technique, the FBI enlists the participation of confidential

human sources (CHS) to assist in investigations.

   86. On May 24, 2016, HANSEN met with two fo1mer DIA associates for lunch in San

Antonio, Texas. After lunch, HANSEN continued to speak to one of the DIA associates,

inquiring about DIA sources and methods of operation. During the conversation, HANSEN

disclosed that the MSS approached him. He also described his meetings with the FBI and stated

that he "had to give the MSS something to keep stringing them along," while waiting for the FBI

to make a decision about his offer to work as a "double agent."

    87. Based. on HANSEN's statements, the DIA associate filed a suspicious incident report.

Thereafter, with DIA approval, the associate agreed to assist the FBI in its investigation by

acting in the capacity of a CHS. At the time, the CHS worked as a DIA case officer.

    88. Between 2016 and 2018, the CHS spoke to HANSEN several times. During those

conversations, HANSEN disclosed ongoing contact with the MSS , including in-person meetings

with senior MSS officers during his trips to the PRC. HANSEN stated that he performed

consulting work for the MSS. HANSEN further stated that he sold computer forensic products

to the PRCIS for which they "grossly overpaid" him in cash.

    89. In October of 2016, HANSEN told the CHS that the MSS was still willing to pay him

$300,000 a year to do consulting work. HANSEN related that the MSS asked him to write white

papers on cell phones. HANSEN also said the MSS asked liim about the views of various U.S.

politicians regarding the PRC.

    90. In February of 2017, HANSEN told the CHS that he attended intelligence and military

conferences for the MSS. HANSEN stated that while none of the information at the conferences




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was classified, the MSS could not obtain the same infon11ation as HANSEN because the MSS

would not have the same access to high-ranking military officials as HANSEN did.

   91. In March of 2018, HANSEN sent the CHS a copy of certain materials that he retair:ied

from his time as a U.S. government contractor. HANSEN asked the CHS to search for the

information in intelligence reporting to deten11ine how, if at all, the government used it. The

materials that HANSEN sent to the CHS remained classified.

    92. In March of 2018, HANSEN told the CHS that he met with a senior MSS intelligence

officer during his March trip to the PRC. HANSEN discussed areas of interest expressed by the

MSS intelligence officer about U.S . positions related to North Korea, South Korea, and the PRC.

HANSEN asked the CHS to search intelligence repmiing for infom1ation on a specific issue

HANSEN described regarding North Korea. HANSEN also suggested he could act as a conduit

to pass information to the MSS.

    93. In April of 2018 , shmily before HANSEN travelled again to the PRC, HANSEN

discussed with the CHS his ability to facilitate the sale of national defense infonnation to the

PRCIS, saying he would meet with the MSS during his April trip to the PRC and assess their

interest in information the CHS could obtain and provide. HANSEN discussed with the CHS

ways to conceal their meetings and activities in the U.S . to avoid detection of their intent to sell

national defense information to the PRCIS.

    94. Later in April of 2018 , HANSEN again met with the CHS shortly after returning from the

PRC. During the meeting, HANSEN discussed the details of how he and the CHS might sell

national defense information to the PRCIS . HANSEN advised the CHS regarding the type of

infon11ation the PRCIS would find useful, and HANSEN advised the CHS how to record and

transmit classified information without detection. HANSEN fu1iher suggested that the CHS




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create notes related to the content of any classified material that the CHS would pass to

HANSEN. HANSEN also discussed the possibility of the CHS doing a debriefing with the

PRCIS in Canada or Mexico. HANSEN asked what amount of compensation the CHS would

require for providing such information. HANSEN advised that the PRCIS might pay up to

$200,000 ifthe CHS could deliver the "China ops plan," the operations plan of the United States

military regarding potential military intervention with China. HANSEN explained how the CHS

could hide and launder any funds received from the PRCIS, and HANSEN offered to help

launder the money. On multiple occasions during the conversation, HANSEN asked whether the

CHS was recording the meeting or "setting [HANSEN] up to go to jail." At the end of the

meeting, HANSEN discussed using an application that provides encrypted communication for

their future interaction. ·

    95. In early May of 2018, after learning of the CHS' unavailability to meet prior to

HANSEN's intended travel to the PRC on May 31, 2018, HANSEN suggested he could delay his

travel to the PRC to a later date in order to accommodate the CHS' availability.

    96. HANSEN subsequently made plans to travel from Salt Lake City to the PRC on June 2,

2018. He confirmed with the CHS that they would meet at a location close to the Seattle-

Tacoma airport in Seattle, Washington, where HANSEN had a connecting flight to the PRC from

the District of Utah.

    97. On June 2, 2018, during his layover, HANSEN took a cab to meet the CHS at a pre-

airanged location close to the Seattle-Tacoma airport. The CHS and HANSEN met in the CHS'

car near the airport and drove to another location, also in the vicinity of the airpmi. The CHS

brought two classified paper documents (the materials) to the meeting with HANSEN. The

materials were classified at the SECRET level and marked accordingly.




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   98. At the outset of the meeting, HANSEN stated that he did not turn on his phone after he

landed to insure that no one could track their location. The CHS informed HANSEN that he had

materials to show HANSEN. HANSEN initially responded to this news by stating that he did

not want to physically take the materials on his pending trip to the PRC. However, HANSEN

later indicated that they should give his contacts in the PRCIS something to ensure that they

would continue to work with the CHS and HANSEN in the future.

   99. The CHS brought the materials in a concealment device. The CHS offered the materials

in the device to HANSEN, who attempted to open the device but could not. The CHS then took

the device back, opened the device, and asked HANSEN ifhe wanted to see the materials.

HANSEN stated that he did and HANSEN then accepted the materials from the CHS.

    100. During the majority of their two-hour meeting, HANSEN possessed the materials and

reviewed them. HANSEN asked the CHS specific questions about the content of the materials.

While reviewing the materials HANSEN stated that each paragraph of the materials would be

worth a separate ten-minute conversation with the PRCIS. At one point, the CHS asked

HANSEN how he would remember all the details of their discussion and HANSEN stated that he

would remember the highlights. The CHS observed HANSEN take hand-written notes during

their conversation.

    101. The CHS and HANSEN also discussed how the CHS should procure and store

documents that the CHS would obtain in the future for the PRCIS . HANSEN advised that the

CHS should buy a computer and scanner and take steps to move the materials into a digital

format. He also suggested that the CHS cut a hole in a nearby tree and hide materials in that

location.

    102. HANSEN also informed the CHS that the PRCIS would have to vet the CHS.




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HANSEN asked for the CHS' date of birth, email addresses, employment locations, social media

accounts, and information about the CHS' family members to provide to the PRCIS to facilitate

the vetting process.

    103. HANSEN told the CHS that he would not receive money after this trip to the PRC.

However, he advised the CHS that he would arrange for the CHS to receive payment after his

next trip to the PRC later in June. HANSEN stated he would arrange for his contacts in the PRC

to give the money to one of HANSEN's business associates in the PRC who would then wire the

funds to one ofHANSEN's businesses. HANSEN would then have the funds "expensed" and

arrange for them to be sent to the CHS.

    104. After their meeting, the CHS dropped HANSEN off at a location close to the Seattle-

Tacoma airport. HANSEN indicated that he would take his hand-written notes and incorporate

them into an existing document. HANSEN then walked approximately one block from the drop-

off location toward the entrance to a pedestrian bridge that accessed the airp01i when the FBI

apprehended him.

    105. When subsequently searched by the FBI agents, HANSEN had in his possession a

single page of hand-written notes. Those notes included specific numbers corresponding to

operational plans of the U.S . Almy, contained in.the materials that HANSEN received from the

CHS. In his notes, HANSEN incorporated the operation numbers into Utah phone numbers in an

attempt to mask their meaning. Additionally, the notes on the page included the CHS' date of

birth, email addresses, and employment locations.

    THE GRAND JURY FURTHER CHARGES THAT:

                                           COUNTl
                                       18 U.S.C. § 794(a)
                       (Attempt to Gather or Deliver Defense Information)




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    106. Paragraphs 1-105 ofthis Indictment are incorporated by reference and re-alleged as

though set forth fully herein.

    107. On or about June 2, 2018, in the Northern Division of the District of Utah and

elsewhere,

                                 RON ROCKWELL HANSEN,

the defendant herein, did knowingly and unlawfully attempt to communicate, deliver and

transmit directly and indirectly to a foreign government, to wit: the Government of the People's

Republic of China, and representatives, officers, agents, employees, subjects and citizens thereof,

documents and information relating to the national defense of the United States including

documents marked SECRET//NORFORN that related to military readiness in a particular region,

with intent and reason to believe that such documents and information will be used to the injury

of the United States and to the advantage of any foreign nation; all in violation of 18 U.S.C.

§ 794(a).

                                             COUNT2
                                          18 u.s.c. § 951
                                 (Agent of a Foreign Government)

    108. Paragraphs 1-107 of this Indictment are incorporated by reference and re-alleged as

though set forth fully herein.

    109. Beginning on a date unknown to the United States, but at least by April of 2013, and

continuing through June 2, 2018, in the Northern Division of the District of Utah and elsewhere,

the defendant,

                                  RON ROCKWELL HANSEN,




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did knowingly and willfully agree to act and did so act as an agent of a foreign government, to

wit: the Govermnent of the People ' s Republic of China, without prior notification to the

Attorney General, all in violation of 18 U.S.C. § 951.

                                             COUNTS 3-5
                                            31 u.s.c. § 5332
                                         (Bulk Cash Smuggling)

    110. Paragraphs 1-109 of this Indictment are incorporated by reference and re-alleged as set

forth fully herein.

    111. On or about the dates listed below, in the Northern Division of the District of Utah and

elsewhere, the defendant,

                                    RON ROCKWELL HANSEN,

did, with intent to evade a currency reporting requirement under Title 31 , United States Code,

Section 5316, knowingly and unlawfully conceal more than $10,000.00, and transport and

attempt to transport such currency from a place outside the United States to a place inside the

United States, all in violation of 31 U.S.C. § 5332, as set forth below:

            Arrival Date
 Count                      Customs Declaration         Deposit Date      Currency    Bank Account
               (U.S.)
                                                                                      x4 798 WF Hansen
           November 26,            None               November 26, 2013     $9,000
    3                                                                                 personal
              2013               Seattle, WA
                                                      November 29, 2013    $10,000    x6750 WF AC-FPS
                                                       March 26, 2014       $9,900
                                                                                      x0702 WF   uvestack
                                      one                                   $9,900
   4      March 26, 2014                               March 27, 2014
                                 Seattle, WA                                $1 ,000   x4798 WF Hansen
                                                       March31,2014         $6,400    personal
                                                                                      x4798 WF Hansen
                                                        July 10, 2014       $9,000
                                                                                      personal
                                                                                      x4892 WF K.H.
                                                        July 11 , 2014      $2,500
                            $19 ,222 in Detroit, MI                                   personal
    5        July 9, 2014
                                 (Form Filed)                                         x4798 WF Hansen
                                                        July 17, 2014       $1,000
                                                                                      personal
                                                                                      x4892 WF K.H.
                                                        July 18, 2014       $1,800
                                                                                      personal
 WF: Wells Fargo




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                                          COUNTS 6-13
                                         31 u.s.c. § 5324
                               (Structuring Monetary Transactions)

    112. Paragraphs 1-111 of the Indictment are incorporated by reference and re-alleged as set

forth fully herein.

    113. Beginning on a date unknown to the United States, but at least by April

2013, and continuing until June 2, 2018, in the Northern Division of the District of Utah and

elsewhere, the defendant,

                                     RON ROCKWELL HANSEN,

did knowingly and for the purpose of evading the reporting requirements of Title 31 , United

States Code, Section 5313(a), and the regulations promulgated thereunder, structure and attempt

to structure any transaction with one or more domestic financial institutions, as set forth below:

          Arrival Date     Customs
 Count                                       Deposit Date       Currency    Bank Account
              (U.S.)       Declaration
          November 26,         None        November 26, 2013      $9,000    x4798 WF Hansen personal
    6
             2013           Seattle, WA    November 29, 2013     $10,000    x6750 WF AC-FPS
                                            March 26, 2014        $9,900
                                                                            x0702 WF   uvestack
                                 one                              $9,900
    7     March 26, 2014                    March 27, 2014
                            Seattle, WA                           $1,000
                                                                            x4798 WF Hansen personal
                                            March 31, 2014        $6,400

                            $27,775 in                            $5 ,000   xi 730 BAF Hansen personal
           October 29,                      October 30, 20 14
    8                      Seattle, WA                            $8,000
              2014                                                          x4798 WF Hansen personal
                           (Form Filed)    November 7, 2014       $ 1,500
                                                                  $1,000    x4892 WF K.H. personal
                             $30,000 in    December 22, 2014
          December 20,                                            $9,000
    9                       Seattle, WA                                     x6750 WF AC-FPS
             2014                          December 23, 2014      $6,000
                            (Form Filed)
                                            January 15, 2015      $1,500    x 1730 BAF Hansen personal
                                                                  $5,000    x4798 WF Hansen personal
                             $30,040 in      April 17, 2015
                                                                  $6,800
   10     April 16, 2015    Seattle, WA                                     xi 730 BAF Hansen personal
                            (Form Filed)     April 27, 2015        $4,500
                                              May 4, 2015          $2,000   x479 8 WF Hansen personal.
                             $20,700 in       July 27, 2015        $5,000   xl 730 BAF Hansen personal
   11      July 26, 2015
                             San Fran,        July 30, 2015        $5,000   x6750 WF AC-FPS




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                                    CA
                                                                   -      - ·~
                                                 August 10, 2015       $3,000    x 1730 BAF Hansen personal
                                (Form Filed)
                                                 August 11, 2015       $1,008
                                                                                 x4798 WF Hansen personal
                                                 August 24, 2015       $3,300
                                                 August 28, 2015       $7,000
                                  $20,267 in                                     xl 730 BAF Hansen personal
              August 27,                        September 2, 2015      $2,500
   12                            Seattle, WA
                2015                            September 3, 2015      $2,900    x4798 WF Hansen personal
                                 (Form Filed)
                                                September 14, 2015     $3,000    x 1730 BAF Hansen personal
                                                                       $8,000    x 1730 BAF Hansen personal
                                                December 14, 2015
                                  $53,000 in                           $8,000    x4798 WF Hansen personal
            December 14,
   13                            Seattle, WA    December 15, 2015      $7,400    x6750 WF AC-FPS
               2015
                                 (Fonn Filed)   December 16, 2015      $1,000    x4892 WF K.H. personal
                                                 January 6, 2016       $2,900    x4798 Hansen personal
 WF: Wells Fargo, BAF: Bank of American Fo rk

And did aid and abet therein, all in violation of 31 U.S .C. § 5324 and 18 U.S.C. § 2.

                                                 COUNT 14
                                               18 u.s.c. § 554
                                   (Smuggling Goods from the United States)

    114. Paragraphs 1-113 of the Indictment are incorporated by reference and re-alleged as set

forth fully herein.

    115. From on or about November of 2016 through January of2017, in the Northern Division

of the District of Utah and elsewhere, the defendant,

                                           RON ROCKWELL HANSEN,

and others known and unknown, fraudulently and knowingly did attempt to export and send from

the United States, any merchandise, article, and object contrary to any law and regulation of the

United States, and did attempt to receive, conceal, buy, sell, and facilitate the transportation,

concealment, and sale of such merchandise, aiiicle, and object, prior to exportation, knowing the

same to be intended for exportation contrary to any law and regulation of the United States, and

aided and abetted the same, to wit, HANSEN did cause to be exported from the United States

Sumuri Recon software containing password recovery capability without first having obtained

the required licenses from the United States Depa1iment of Commerce, and did aid and abet



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therein, all in violation of 50 U.S.C. §§ 1702 and 1705, 18 U.S.C. §§ 554 and 2, and 15 C.F.R.

§ 764.2(b).

                                        COUNT 15
                                      18 u.s.c. § 554
                          (Smuggling Goods from the United States)

    116. Paragraphs 1-115 of the Indictment are incorporated by reference and re-alleged as set

forth fully herein.

    11 7. From on or about December 23 , 2016 through on or about January 19, 201 7, in the

Northern Division of the District of Utah and elsewhere, the defendant,

                                 RON ROCKWELL HANSEN,

fraudulently and knowingly did attempt to expo1i and send from the United States, any

merchandise, article, and object contrary to any law and regulation of the United States, and did

attempt to receive, conceal, buy, sell, and facilitate the transportation, concealment, and sale of

such merchandise, article, and object, prior to exportation, knowing the same to be intended for

exportation contrary to any law and regulation of the United States, and aided and abetted the

same, to wit, HANSEN did cause to be exported from the United States Vound, Intella software

with a falsified value, and did aid and abet therein, all in violation of 18 U.S.C. §§ 554 and 2, 13

U.S.C. § 305, 15 C.F.R. § 30.71, 15 C.F.R. § 764.2(g).

        DATED this 20th day of June, 2018.


                                               FOREPERS


JOHN W . HUBER
United States Attorney

      ~f-~~
ROBERT A. LUND
Assistant United States Attorney



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